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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

HOWARD ANTHONY BROWN and                                        Civil Action No. 17- 09627
BELDEN BATISTE

vs.                                                             JTM-KWR

TOM SCHEDLER, ET AL.

      MOTIONS TO DISMISS COMPLAINT FOR DAMAGES AND INJUNCTIVE AND
      DECLARATORY RELIEF AND AMENDED COMPLAINT FOR DAMAGES AND
            INJUNCTIVE AND DECLARATORY RELIEF ON BEHALF OF
                     ATTORNEY GENERAL JEFF LANDRY

              NOW INTO COURT, through undersigned counsel, comes Defendant Jeff Landry, in

his official capacity as Attorney General of the State of Louisiana (“Attorney General Landry”),

who moves this Court to dismiss the plaintiffs’ Complaint For Damages and Injunctive and

Declaratory Relief (hereafter the “Complaint”) 1 and Amended Complaint For Damages and

Injunctive and Declaratory Relief (hereafter the “Amended Complaint”), 2 under FRCP 12(b)(1)

and 12(b)(6), for the following reasons:

                                                   1.

              The Court lacks subject matter jurisdiction over this matter under 28 U.S.C. §1332.

Based on the allegations of the Complaint and Amended Complaint, each of the Plaintiffs is a

citizen of the State of Louisiana. The Defendants are the Secretary of State of Louisiana, the

Attorney General of the State of Louisiana, five (5) judges who serve on the Louisiana Fourth

Circuit Court of Appeal, and one (1) judge who serves on the Civil District Court of Orleans

Parish all of whom are citizens of the State of Louisiana. There is no diversity of citizenship

between the Plaintiffs and the Defendants. (FRCP 12(b)(1))

1
    Doc.1.
2
    Doc. 4.

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                                               2.

       This Court lacks subject matter jurisdiction under the Rooker-Feldman doctrine. (FRCP

12(b)(1)).

                                               3.

       The Court lacks subject matter jurisdiction over the claims brought pursuant to the

Louisiana Constitution of 1974 and other state law claims. The Eleventh Amendment bars claims

against states brought in federal court except where federal law clearly abrogates the states’

sovereign immunity, or when the states themselves voluntarily waive immunity. The Plaintiffs’

state law claims are barred by the Eleventh Amendment. (FRCP 12(b)(1)).

                                               4.

       The Plaintiffs’ request for an immediate injunction against Defendants to return Plaintiffs

names back on the ballot for the October 14, 2017 election is moot. The October 14, 2017

election has already occurred, and the results of the October 14, 2017 election have been

certified. (FRCP 12(b)(1)).

                                               5.

       The Complaint and Amended Complaint fail to state a claim for which relief can be

granted as prayed for, including but not limited to, claims for compensatory damages and claims

for declaratory and injunctive relief under Section 5 of the Voting Rights, 42 U.S.C. §1973c.

(FRCP 12(b)(6)).

                                               6.


       Compensatory damages are not an available remedy for claims brought under the Voting


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Rights Act of 1965, as amended, 42 U.S.C. §1973 et seq.

                                                7.

        The Complaint and Amended Complaint also fail to state a claim for declaratory and

injunctive relief under Section 5 of the Voting Rights Act of 1965.

                                                8.

        Attorney General Landry files these Motions to Dismiss without waiving any defenses,

known or unknown and reserving the right to amend and supplement this motion should/as this

matter progresses.



        WHEREFORE, Defendant Jeff Landry prays that these Motions to Dismiss be granted,

and Plaintiffs’ Complaint (Doc. 1) and Amended Complaint (Doc. 4) be dismissed with

prejudice and at Plaintiffs’ cost.


                                             Respectfully Submitted:

                                              /s/ Christina B. Peck
                                              Christina B. Peck (T.A.) (La. Bar #14302)
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                                              Counsel for Defendant Jeff Landry,
                                              Attorney General of the State of Louisiana




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 15, 2017, the foregoing “Motions to Dismiss

Complaint For Damages and Injunctive and Declaratory Relief and Amended Complaint For

Damages and Injunctive and Declaratory Relief on Behalf of Attorney General Jeff Landry” was

filed electronically with the Clerk of Court using the CM/ECF system. All counsel will be served

through the CM/ECF system.

       I further certify that a copy of the above and foregoing “Motions to Dismiss Complaint

For Damages and Injunctive and Declaratory Relief and Amended Complaint For Damages and

Injunctive and Declaratory Relief on Behalf of Attorney General Jeff Landry” was sent via U.S.

Mail, properly addressed and with the proper postage, to the following non-CM/ECF

participants, who are pro se litigants:

                                      Howard Anthony Brown
                                        4711 Marque Drive
                                      New Orleans, LA 70127

                                          Belden Batiste
                                         1421 North Miro
                                      New Orleans, LA 70119.

       Baton Rouge, Louisiana, this 15th of November, 2017.

                                             s/ Christina B. Peck
                                             CHRISTINA B. PECK




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